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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 1 of 47 Pageid#: 15509

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1                     UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
  2                       CHARLOTTESVILLE DIVISION

  3   *************************************************************

  4   ELIZABETH SINES, et al.,

  5          Plaintiffs,                  CIVIL ACTION 3:17-CV-00072

  6   vs.                                 OCTOBER 30, 2020     2:02 P.M.

  7                                       MOTION HEARING VIA ZOOM

  8   JASON KESSLER, et al.,

  9
             Defendants.
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      *************************************************************
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 12                     TRANSCRIPT OF MOTION HEARING

 13         BEFORE NORMAN K. MOON, UNITED STATES DISTRICT JUDGE

 14                     WESTERN DISTRICT OF VIRGINIA

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 22           Court Reporter: JoRita B. Meyer, RPR, RMR, CRR
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                PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY;
 25   TRANSCRIPT PRODUCED BY COMPUTER.
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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 2 of 47 Pageid#: 15510

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 3 of 47 Pageid#: 15511

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 4 of 47 Pageid#: 15512

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1   (Proceedings commenced, 2:02 p.m.)

  2              THE COURT:    Can you hear me?

  3              THE CLERK:    Yes, sir.

  4              MR. LEVINE:    Yes, sir.

  5              THE COURT:    All right.    Before we begin, I will

  6   remind everyone that under standing order 2020-12, the

  7   Court's prohibition against recording and broadcasting court

  8   proceedings remains in force.        Attorneys, staff, and any

  9   members of the public accessing this hearing today may not

 10   record or broadcast it.

 11              All right.    Would you call the case, please?

 12              THE CLERK:    Yes, Your Honor.

 13              This is Civil Action Number 3:17-cv-72, Elizabeth

 14   Sines and others versus Jonathan Kessler and others.

 15              THE COURT:    Is the plaintiff ready?

 16              MR. LEVINE:    Yes, Your Honor.     Good afternoon.    Alan

 17   Levine of Cooley, LLP, for the plaintiffs today.

 18              THE COURT:    All right.    Are the defendants ready?

 19              MR. JONES:    Yes, Your Honor.     Bryan Jones,

 20   representing League of the South, Michael Hill, and Michael

 21   Tubbs.

 22              THE COURT:    All right.    This is on your motion, so

 23   you may proceed.

 24              MR. JONES:    Thank you, Your Honor.

 25              Our motion is based on plaintiffs can't prove they
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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 5 of 47 Pageid#: 15513

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1   were injured or suffered damages based on two incidents, the

  2   Fields car attack and the torch march that occurred on

  3   August 11.    Because my clients did not conspire with James

  4   Fields -- indeed, Mr. Fields did not conspire with anybody in

  5   perpetrating the car attack -- and because my clients did not

  6   conspire with those involved in the August 11 torch march, it

  7   is our position that all the claims, all the conspiracy

  8   claims, against our clients should be dismissed.

  9              Starting with the Fields car attack, the evidence so

 10   far is that James Fields acted alone.         He did not plan the

 11   rally.    He did not communicate -- as far as we know, there's

 12   no evidence that he communicated with any of the other

 13   defendants in the rally, and simply the evidence simply shows

 14   that he attended the rally, and once the rally was finished,

 15   he acted alone in driving his car into the crowd and

 16   perpetrating that attack.

 17              Because it's crucial for the conspiracy claims that

 18   Mr. Fields conspired with some of the other defendants to

 19   commit racial violence on that date, the lack of evidence in

 20   that regard is fatal.      Indeed, if the evidence that

 21   plaintiffs have provided in support of the claim that James

 22   Fields was a conspirator, if that were sufficient, then

 23   virtually every attendee at the rally would be part of the

 24   conspiracy.    That would stretch conspiracy, not just to this

 25   rally, but at any sort of protest or rally, simply attending
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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 6 of 47 Pageid#: 15514

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1   would subject somebody to liability for any damage that

  2   occurred at that rally.

  3              That's our position on the -- as far as the

  4   plaintiffs who were injured in the Fields car attack.

  5              THE COURT:    Let me ask you a question.      What is your

  6   understanding of the evidence that he was connected in some

  7   way with Vanguard America?

  8              MR. JONES:    Your Honor, the evidence cited by the

  9   plaintiffs in their response is that when he arrived at the

 10   rally, he stood next to members of Vanguard; that he held a

 11   shield that was associated with some members of Vanguard; and

 12   that he -- my understanding is that he -- most of time he was

 13   at the rally, he was with members of Vanguard.

 14              There's no evidence that he had any connection to

 15   Vanguard before this.      In fact, he simply showed up, and they

 16   were the ones that he spent most of the time at the rally

 17   with.   There's no -- none of those -- none of the actions

 18   that plaintiffs have cited in support -- the standing next to

 19   them, the wearing a white polo and khakis -- points to a

 20   conspiracy to commit racial violence.         It simply shows

 21   somebody participating in and attending a political rally.

 22              THE COURT:    Well, if he were a member of Vanguard,

 23   and Vanguard was a conspirator, then of course Fields would

 24   likewise be a conspirator with everyone else that could be

 25   proven to have conspired together, correct?
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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 7 of 47 Pageid#: 15515

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1              MR. JONES:    That may be true, Your Honor.       However,

  2   he was actually not an official member of Vanguard.

  3              THE COURT:    Yeah, I understand your position.       Okay.

  4              After the 12th, the event on the 12th involving

  5   Mr. Fields, did the League issue any statement which tended

  6   to support or disapprove of him, or anyone on behalf --

  7   speaking for the League?

  8              MR. JONES:    No, Your Honor.

  9              THE COURT:    Okay.   All right.    You may proceed,

 10   then.

 11              MR. JONES:    Thank you, Your Honor.     So that is my

 12   argument on Fields.

 13              I would -- I guess to address that last point, Your

 14   Honor, conspiracy, of course, has to be formed beforehand and

 15   in advance, and so I -- it's our position that there's no

 16   requirement that they necessarily disavow or disassociate

 17   themselves after the fact with Mr. Fields.

 18              As far as the plaintiffs who were injured in the

 19   torch march, Your Honor, our position on that is also our

 20   clients were not involved with the torch march.          The crucial

 21   piece of evidence on this question is an e-mail sent before

 22   the torch march on August 11 from one League of the South

 23   member to Michael Hill, where the member asks whether Michael

 24   Hill and the League is going to be attending the torch march,

 25   and if so, to be careful, because Antifa may have caught wind
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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 8 of 47 Pageid#: 15516

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1   of the torch march.

  2              Michael Hill's response is:      "That is not our game,

  3   but we are sending two observers."

  4              Indeed, Michael Tubbs did not even arrive in

  5   Charlottesville until much later in the evening, after the

  6   torch march had occurred.       Michael Hill was in Madison,

  7   Virginia, at the campground where they were staying.

  8              A handful of League members, perhaps, participated,

  9   but they were doing so in an individual capacity.          The League

 10   did not participate or attend in the torch march that

 11   occurred on August 11.

 12              So for that reason, because the plaintiffs -- my

 13   clients did not have any involvement in the torch march, the

 14   plaintiffs who suffered injuries as a result of the torch

 15   march cannot recover from my clients.

 16              THE COURT:    What is the evidence that -- what is

 17   your understanding of the evidence that any member of the

 18   League participated, did anything at the torch march that

 19   caused the injury to any of the plaintiffs?

 20              MR. JONES:    As far as I know, there's no evidence

 21   that any of the members of the League of the South committed

 22   any violence or injured anybody.        There are pictures of Brad

 23   Griffin, who is a member of the League, marching with other

 24   participants in the rally, but there's no evidence that they

 25   participated in any of the violence.
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Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 9 of 47 Pageid#: 15517

          Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


  1              THE COURT:    All right, sir.

  2              MR. JONES:    That's all I'll offer now.      I will

  3   reserve some time to respond to plaintiffs.

  4              THE COURT:    All right.    Plaintiffs may -- you may

  5   respond.

  6              MR. LEVINE:    Thank you, Your Honor.      My name is Alan

  7   Levine, from the Cooley law firm, representing the

  8   plaintiffs.

  9              So I have a presentation.      I just want to be sure

 10   it's okay with the Court if I sit down.         I'm accustomed to

 11   standing before the Court.

 12              THE COURT:    Well, I assume everyone is sitting down.

 13   I don't know why you would stand.

 14              MR. LEVINE:    Okay.   Thank you.

 15              THE COURT:    Do as you please.

 16              MR. LEVINE:    Okay.

 17              So, Your Honor, we're here in opposition to the

 18   motion for summary judgment.       But it's obvious, Your Honor,

 19   there are 11 other individual defendants and nine other

 20   entity defendants that have not made such a motion.           Only the

 21   defendants League of the South, Defendant Hill, and Defendant

 22   Tubbs have challenged the evidence.        So we will be before

 23   Your Honor in the trial now scheduled, hopefully, for April.

 24              Your Honor, the evidence developed during discovery

 25   demonstrates that the defendants -- all, all of the
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 10 of 47 Pageid#: 10
                                  15518
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    defendants, including the three defendants making this

2    motion -- engaged in a conspiracy to commit violence against

3    black people, Jews, and their supporters, in violation of

4    42 U.S.C., Section 1985(3), the Ku Klux Klan Act, in the

5    events of the weekend of August 11 and 12, 2017.

6             The defendants -- the evidence also demonstrates,

7    Your Honor, that the defendants' intention was to intimidate

8    black people and Jews and their supporters with threats of

9    violence, and actual violence, from the equal enjoyment of

10   rights secured by law to all.

11            Your Honor ruled on a motion to dismiss in this case

12   and wrote in his decision upholding the complaint that as to

13   these three movant defendants, we had properly and adequately

14   alleged a conspiracy; that it was motivated by class-based,

15   invidiously discriminatory animus; that it was intended to

16   deprive the plaintiffs of the equal enjoyment of rights,

17   resulting in injury.

18            Because it's only these three defendants making a

19   motion, I'm going to confine myself to the proof of their

20   conduct and participation and respond specifically to the two

21   points that Mr. Jones has made, as well as two other points

22   that he has not chosen to argue this afternoon but are

23   contained in his -- in his brief.

24            Let me just -- and we submitted, Your Honor, a

25   50-some-odd-page brief.     We attached 151 exhibits.      And I am
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 11 of 47 Pageid#: 11
                                  15519
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    not going to go through the entire brief or all of those

2    exhibits today, but with the Court's indulgence, I am going

3    to highlight a number of the exhibits in respect of each of

4    the arguments that Mr. Jones has made today on behalf of his

5    clients.   But let me just point out some very basic facts at

6    the outset, Your Honor.

7               The League of the South, the defendant League of the

8    South, as its published papers say, it sees itself as the

9    heart and soul of the hard right, an "uncompromising

10   movement" -- I'm quoting, Your Honor -- "uncompromising

11   movement of Southern and white nationalists, firm on the

12   Jewish question and the Negro question," meaning to eliminate

13   Jews and subordinate blacks.

14              Second, that the defendants, Your Honor, League of

15   the South and Hill, were invited to participate in the Unite

16   the Right rally early on and to be involved in the planning

17   by the defendant Kessler; that defendant Hill solicited

18   members to attend what he called "defending our Southern

19   heritage against Jews and their black-skinned allies."

20              Three, that the defendant Hill delegated very

21   specific League of the South members to be involved in the

22   planning both on Discord and in other communications.          And

23   the designated people included Brad Griffin, Ike Baker, and

24   J.C. Adams.   And I will be referring to evidence from each of

25   the three of them this afternoon.       And the evidence will show
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 12 of 47 Pageid#: 12
                                  15520
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    that each of those three gentlemen, members of the League of

2    the South, reported back to Hill and to Tubbs on their

3    performance of their responsibilities.

4             Next, Your Honor, that the defendant Hill delegated

5    the defendant Tubbs to be in charge of ground operations for

6    the Unite the Right.     It was the defendant Tubbs who set up

7    uniforms and actually led the formation of League of the

8    South members and other defendant organization members into

9    battle on the morning of Saturday, August 12th.

10            And we submitted in connection with our motion

11   videos of that actual violence that the defendant Tubbs and

12   his co-conspirators initiated.

13            One other co-conspirator, a gentleman, Defendant

14   Perry, who has not made a motion, has described the defendant

15   Tubbs as "proceeding in the head of the formation, with a

16   full-throttled rebel yell, towering like Tyrannosaurus Rex

17   over -- among the raptors."

18            Fifth, we will show, Your Honor, that Brad Griffin,

19   a member of League of the South, delegated by Defendant Hill

20   as head of communications, participated in the torch march

21   along with other League members from the Florida chapter.

22            Next, Your Honor, we will show that the defendant

23   Hill, Tubbs, and Baker and Griffin, each at different times,

24   coordinated the events of the Unite the Right rally,

25   including the torch march, with other organization defendants
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 13 of 47 Pageid#: 13
                                  15521
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    and individual defendants in this case, including the

2    defendant TWP, the defendant NSM, the defendant Vanguard

3    America, and individual defendants Kessler, Parrott,

4    Heimbach, and Schoep.

5               Next, Your Honor, that the coordination included

6    Vanguard member -- Vanguard America.       Its member James Fields

7    participated with Vanguard America in Saturday's rally and

8    committed the criminal act of driving the car into the

9    protesters, killing -- killing one of the protesters.

10              THE COURT:    Stop right there now and summarize the

11   evidence that you have that Fields belonged to the Vanguard

12   America group.

13              MR. LEVINE:   Your Honor, we will show that -- and

14   it's in Exhibits 94, 95, and 120 that we submitted in

15   connection with this motion -- that Fields was in uniform,

16   the white shirt and khakis of Vanguard America.

17              My microphone has defaulted.     Can Your Honor still

18   hear me?

19              THE COURT:    I hear you.

20              MR. LEVINE:   So those exhibits show that Fields

21   stood with and participated with Vanguard America on the day

22   of the rally, and it shows the defendant Fields next to

23   Thomas Russo, who was the leader of Vanguard America.          And

24   they are standing behind the defendant Kline, who you know

25   from earlier proceedings in this case.        The defendant Fields
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 14 of 47 Pageid#: 14
                                  15522
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    showed up in uniform, Your Honor, from which --

2              THE COURT REPORTER:     I'm sorry.    You're going in and

3    out, Mr. Levine.    We've lost your video feed.

4              (Pause in proceedings.)

5              THE COURT:    You're back.

6              MR. LEVINE:    Sorry, Your Honor.

7              So I was saying Exhibit 120 shows the defendant

8    Fields along with other members of Vanguard America in

9    formation behind the defendant Elliot Kline, who Your Honor

10   is familiar with.    And the defendant Fields is wearing the

11   white shirt and khakis uniform of Vanguard America and is

12   carrying -- is carrying a shield.

13             Thomas Russo, the acknowledged leader of Vanguard

14   America, testified in his deposition, Your Honor, that James

15   Fields participated with them as a member in the rally that

16   day.   And the same testimony was given by the witness Dillon

17   Hopper.

18             So we also, Your Honor, are entitled at this stage

19   of the evidence to any inferences that can be drawn from

20   those facts.   And I would submit to Your Honor that appearing

21   next to and with the other members of Vanguard America, in

22   the uniform of Vanguard America, not in the uniform of any of

23   the other groups, raises the inference that he did

24   participate as a member with them, just as Mr. Russo

25   testified.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 15 of 47 Pageid#: 15
                                  15523
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1             Now, we also have evidence about the car attack, but

2    I think Your Honor just asked me what the evidence is of his

3    participation in the rally.

4             THE COURT:    Yeah, I just asked for proof of his

5    connection with Vanguard.

6             MR. LEVINE:     So that is our evidence of his

7    connection with Vanguard that day.

8             Mr. Fields has not participated in discovery.          We

9    have not taken his deposition.      So the allegations that

10   Mr. Jones is making about Mr. Fields and conversations and

11   the like, it's just -- there's no evidence, Your Honor,

12   because Mr. Fields has not participated in discovery.

13            Finally, Your Honor -- and this relates to a point

14   in their brief that Mr. Jones did not argue today -- the

15   assault on DeAndre Harris in the Market Street garage, we

16   will show, was a violent assault on a black man by a group of

17   individuals, including a member of League of the South.          And

18   Your Honor will see an exhibit that we have marked, which

19   I'll refer to later, of the defendant Tubbs looking on over

20   that assault in the location at the time.

21            So, Your Honor, we will show, based on this review

22   of the evidence, that the allegations that Mr. Jones has

23   made -- not the allegations -- the statements that Mr. Jones

24   has made that his clients did not participate in League of

25   the -- in the torch march, and thus the torch march was not
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 16 of 47 Pageid#: 16
                                  15524
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    an act in furtherance of the conspiracy that they

2    participated in, we will show that that's a false narrative.

3    There's abundant evidence of participation by the League of

4    the South and ratifying the torch march by -- by the

5    defendant Hill.

6             Similarly for Fields, Your Honor, apart from what I

7    just said, we will show, Your Honor -- it's Exhibits 120

8    and -- I forget right now; I will come to it during my

9    argument -- that defendant Tubbs ratified the defendant

10   Fields' car attack and said on four occasions -- I think it's

11   Exhibit 151 -- on four separate occasions on Twitter,

12   Mr. Tubbs, the defendant Tubbs, said:       "James Fields did

13   nothing wrong."

14            Third, Your Honor, we will show, although Mr. Jones

15   didn't argue it, that the argument about Antifa and this

16   being a political rally is just simply not consistent with

17   the evidence.

18            The defendants League of the South, Hill, and Tubbs

19   joined the Unite the Right rally as an alt-right rally with

20   co-conspirators committed to violence against blacks, Jews,

21   and their supporters.     And we will show, based on words

22   coming out of League of the South members themselves, that

23   they considered Antifa supporters of blacks and Jews.          And

24   this is exactly what the statute was intended to cover.

25            I also just said that we will show that the Saturday
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 17 of 47 Pageid#: 17
                                  15525
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    afternoon assault on DeAndre Harris was very much an act in

2    furtherance of the conspiracy.

3              As I said, Your Honor, in reference to the

4    discussion of Mr. Fields, at this point, what the defendants

5    have -- movants have done here is simply present an

6    alternative narrative to the proof that we will show,

7    presenting, if you will, a genuine issue of material fact.

8    We submit these arguments are essentially a factual

9    narrative -- we say, false narrative -- of what the

10   defendants did in this case, and it will be for the jury to

11   decide.

12             At this stage, as I said in relation to Fields, the

13   law is clear that we're entitled to the inferences to be

14   drawn from the facts.     And as Your Honor has cited before, at

15   this stage of proceedings, credibility determinations are to

16   be left for the jury.

17             And that rule of law, Your Honor, is particularly

18   important in this case, since, essentially, the narratives

19   that the defendant movants assert here are self-serving

20   statements in affidavits which themselves, Your Honor, are

21   contradicted by their conduct in this case, by their

22   statements before, by their conduct at the time, and by their

23   statements afterwards.

24             THE COURT:   Do you have any evidence -- just

25   summarize it for me, if you will -- that the members, any
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 18 of 47 Pageid#: 18
                                  15526
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    member of the League, had access to Discord group

2    Charlottesville 2.0?

3             MR. LEVINE:     Yes, Your Honor.     The evidence will

4    show that the defendants Baker, Griffin, Adams, and Durham

5    were all delegated as representatives by Hill to participate

6    in the planning.

7             And let's take Mr. Baker first, Your Honor.          The

8    evidence will show that Hill, Defendant Hill, told the

9    defendant Tubbs that he directed Baker to be chief of

10   operations and he, Baker, handled the on-the-ground planning

11   for Unite the Right and was delegated by Hill to work with

12   Kessler and others on Discord.

13            Exhibit 122, Your Honor.       122 is -- let me just get

14   to it in my book, Your Honor.

15            Exhibit 122, Your Honor, is a communication between

16   Hill and Tubbs delegating Baker to be the contact with the

17   Charlottesville Police Department for Unite the Right on

18   security for Saturday and reporting back to Defendant Hill on

19   what he did.

20            And Exhibit 25, Your Honor, is a message from

21   Mr. Baker to the defendant Hill about the participation of

22   Jeff Schoep, the defendant Schoep, and the National Socialist

23   Movement.   And Exhibit 25 is a message from Baker to him in

24   which he says, "Jeff Schoep" -- this is from July 13th, 2017,

25   Your Honor.    "Jeff Schoep is one hundred percent on board,
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 19 of 47 Pageid#: 19
                                  15527
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    sir.   He accepted our terms unequivocally and without

2    hesitation.   He also asked to be kept abreast and that I

3    coordinate NSM participation with two of his people, one of

4    whom I'm well-acquainted with."

5              Next, Your Honor, on August 12, Baker participated

6    with the defendant Tubbs in giving instructions to the

7    warriors from League of the South and others in the

8    Nationalist Front on Saturday morning at the Market Street

9    garage.

10             Next, Your Honor, on Exhibit 27, after the fact,

11   this same Ike Baker reported to another person that, quote,

12   "I" -- it's a little out of context because it's relating to

13   a new event that they were going to plan, but Baker is

14   discussing what they did for Unite the Right, and he says, "I

15   have sought legal advice concerning our shields and other

16   defensive appurtenances, such as clubs and batons, many of us

17   used to great effect last summer in Charlottesville."

18             Now, that shows Baker's cooperation and

19   participation in planning the events with other

20   co-conspirators and with the events of this day.

21             J.C. Adams, Your Honor, also a member of the League

22   of the South, also delegated by the defendant Hill to

23   coordinate.

24             Exhibit 12.    Exhibit 12, Your Honor, is on Discord,

25   and J.C. Adams used Discord and took on the role of planning
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 20 of 47 Pageid#: 20
                                  15528
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    for UTR with other nationalist front organizations.          The

2    exhibit, Exhibit 12, Your Honor, actually announces to the

3    group that:   "There is a planning/reminding of the agenda for

4    the next meeting.    Currently meetings are held at the

5    Whitewater Grill in Ocoee, Tennessee, on Thursdays at 7 p.m."

6             So J.C. Adams, Your Honor, participated in and

7    coordinated organizational meetings relating to Unite the

8    Right, which were, in part, announced on Discord.

9             The day that that meeting, Your Honor -- this is

10   interesting; probative, I would submit.        That meeting took

11   place on July 9, 2017, and Exhibit 11, Your Honor, is a

12   Discord chat 2.0 -- Discord chat from Charlottesville 2.0, in

13   which J.C. Adams is saying -- obviously after the

14   co-conspirators meeting the day before, he says, quote, "The

15   hate van will come stocked with some shields from the TWP,"

16   which is the co-defendant Traditionalist Worker Party, "with

17   a TW" -- "from the TWP Goys," G-O-Y-S.

18            So not only do we have the J.C. Adams delegated by

19   defendant Hill, participating in planning on Discord, but he

20   also is participating and planning separately at actual

21   meetings of participation, certainly acts in furtherance of

22   the conspiracy.

23            Then, Your Honor, on the day, on the -- three days

24   before the event, also on the Charlottesville 2.0, is a

25   hideous exhibit, Your Honor.      It's Exhibit 9, and it is from
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 21 of 47 Pageid#: 21
                                  15529
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    J.C. Adams, and it was in the course of a long chat, several

2    pages, involving many participants and the co-conspirator

3    Defendant Kessler.     And it is a picture, Your Honor, of a

4    hand turning up a knob on an oven, and J.C. Adams' statement

5    on Charlottesville 2.0 is, "What's that I smell," question

6    mark.

7              Later in the chat, one of the participants on

8    Charlottesville 2.0 says, "@JCAdams," quote, "get the ovens

9    warmed up, Goyim," G-O-Y-I-M.

10             And finally, Your Honor, as to J.C. Adams, not on

11   the Charlottesville 2.0 server, but from the day of the event

12   is Exhibit 92, which is one of the videos.        And we submit in

13   that -- in that video, at the 44-minute mark, is a picture of

14   J.C. Adams participating with other members of League of the

15   South in throwing a woman protester on the ground, a whole

16   group of them together.     You can hear them screaming "Leave"

17   to her.   They mace her.

18             And when I asked the defendant Hill during his

19   deposition whether that was an act of self-defense, he

20   admitted that it was not.

21             So that's J.C. Adams, Your Honor.

22             All right.   There's also evidence of the

23   defendant -- of the -- of Mr. Griffin.        And I can get to that

24   right now, Your Honor, or talk about that in connection with

25   the torch march.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 22 of 47 Pageid#: 22
                                  15530
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1               Let me just go back, Your Honor, to point out the

2    events relating to the defendant Hill in this case.          He

3    solicited participation of the League of the South members;

4    and there are many, Your Honor, but the one that's most

5    expressive, I submit, is Exhibit 90, where the defendant Hill

6    said, quote -- and this was in July of 2017.        Quote, "If you

7    want to defend the South and Western Civilization from the

8    Jew and his dark-skinned allies, be at Charlottesville on 12

9    August."

10              And Dr. Hill -- Defendant Hill didn't just solicit

11   his own League of the South members to participate; he also

12   solicited participation from the members of the Nationalist

13   Front, including the NSM, the National Socialist Movement.

14              And Exhibit 29, Your Honor, is remarks that he wrote

15   and sent to Ike Baker, who I was just referring to, for Ike

16   Baker to deliver physically at a meeting of the NSM and

17   soliciting their participation.      The defendant Hill said,

18   quote, "We are compassed around with enemies who seek our

19   destruction from above in the form of the International Jew

20   and his white Gentile traitor allies to below in the dark

21   shape of the Negro, Mestizo, and Muslim street thug.          We are

22   beset by those who despise us and all we hold dear.          The time

23   has come when white men of the West must put aside their

24   petty differences and unite for our very survival and

25   well-being."
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 23 of 47 Pageid#: 23
                                  15531
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1               Hill also, as I said, delegated Baker, Griffin,

2    Adams, and Durham as representatives of the League involved

3    in organizations.

4               Defendant Hill also took charge himself in

5    fabricating shields that would be used by the League of the

6    South members in the actual rally and were used that day as

7    weapons.    And Exhibit 28, Your Honor, is one of his

8    communications relating to fabricating those shields.

9               The evidence also shows, and it's in our brief, of

10   Hill and Tubbs regularly communicating with one another, and

11   Hill soliciting Tubbs' advice and Tubbs' participation.

12              On the --

13              THE COURT:    What is your evidence, your best

14   evidence, that they were involved in the torchlight parade on

15   the 11th?

16              MR. LEVINE:   Your Honor -- first understand, Your

17   Honor, that the torch march was part of the event from the

18   very beginning.    And the -- it was explicit on Discord that

19   it was to be kept quiet.     Even though different people,

20   including Baker for League of the South, met with the

21   Charlottesville Police Department, they never disclosed to

22   the Charlottesville Police Department -- and that was agreed

23   upon, Your Honor.      They never disclosed to the CPD the fact

24   of the torch march rally.

25              THE COURT:    But was the League involved in that?
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 24 of 47 Pageid#: 24
                                  15532
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1             MR. LEVINE:     Yes, it was, Your Honor.      So Brad

2    Griffin, who was chief of communications -- it's Exhibit 19,

3    Your Honor.    Brad Griffin, in a conversation in the middle of

4    July, told one of the other co-defendants in the case, Andrew

5    Anglin, quote, "Everyone is coming to Charlottesville."           He

6    said, "The League has a private summer retreat reserved for

7    the weekend.   I've heard Dr. Duke is coming and will have

8    some kind of surprise role.      We're going to do the torchlight

9    parade again."

10            Then, Your Honor, Exhibit 52, on Discord is a

11   conversation from in or about July 3rd, 2017 between

12   Mr. Griffin and the defendant Kessler.        And Kessler says to

13   Griffin, "Make sure your guys bring plenty of tiki torches."

14   And Griffin responds, "Yes, we have to create a buzz."

15            Then, Your Honor, Griffin did attend with his wife

16   and several other members of the League.        And Exhibit 147,

17   Your Honor, 147 is a tweet -- maybe YouTube -- no, it's a

18   tweet, with a picture from YouTube by Tyler Davis.         It's

19   Exhibit 127.   And next to one of the iconic photos of the

20   participants in the torch march, Tyler Davis says, quote,

21   "Still getting chills from this," referring to the torch

22   march.   "Florida League was there that night before the

23   rally," referring to the League chapter from Florida.

24            And there is Exhibit -- there is -- in the brief is

25   an exhibit of Mr. Griffin, Brad Griffin, at the torch march
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 25 of 47 Pageid#: 25
                                  15533
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    in the shirt of the League of the South.

2             Finally, Your Honor, Exhibit 105.        Once again, Brad

3    Griffin -- let me just find my -- 105, Your Honor.         On

4    Discord, Brad Griffin says, quote -- and it's not the name

5    Brad Griffin; it's his name for purposes of his activities,

6    Hunter Wallace.    He says, quote, "The scariest optics by far

7    to normies," referring to normal people, "was the torchlight.

8    The rally itself was tame by comparison."

9             So the evidence shows abundant evidence of

10   participation by one of the League chapters in the torch

11   march, including the planning leading up to it.

12            The evidence also shows, Your Honor, that the

13   defendants Hill and Tubbs didn't attend the torch march

14   because they rejected the torch march as an act in

15   furtherance of the conspiracy.

16            The campground where they were staying was some

17   40 minutes outside the city of Charlottesville, and each of

18   them testified that that evening there was a meeting between

19   them and members of the NSM and TWP, the other

20   co-conspirators, about the rally the next day.

21            So, Your Honor, the evidence will show that the

22   League actually participated in the event.        And as for Hill

23   and Tubbs, the conspiracy law is clear that they don't have

24   to participate in each act in furtherance of the conspiracy

25   to be liable as a member of the conspiracy and for the
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 26 of 47 Pageid#: 26
                                  15534
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    injuries that were suffered, which were reasonably

2    foreseeable.   Neither the defendant Hill nor the defendant

3    Tubbs withdrew from the conspiracy because they were opposed

4    to it on tactical grounds.

5             And, Your Honor, you asked Mr. Jones if they

6    disavowed the torch march, and the evidence actually is the

7    opposite, Your Honor.

8             Exhibit 15.     Exhibit 15 is a video shortly after the

9    events of an interview that one of the other League members

10   had with the defendant Hill.      And if you listen to that

11   video, Your Honor, you will learn that Hill ratified the

12   torch march in the weeks after, after Unite the Right rally,

13   complimenting on its effect, making the point that he was so

14   impressed with its effect that the League would consider

15   doing it in the future.

16            So, Your Honor, we submit that, at best, the

17   argument that Hill and Tubbs are making that, since they

18   weren't at the torch march rally, they couldn't be -- it

19   couldn't be an act in furtherance of the conspiracy is, at

20   best, a factual narrative and argument which they should be

21   submitting to the jury.     This torch march was every bit a

22   part of the Unite the Right rally, and they knew about it

23   months ahead of time.

24            I can go now to -- I'd just like to go back, Your

25   Honor, and review, if I could, for the Court the evidence,
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 27 of 47 Pageid#: 27
                                  15535
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    isolated evidence, about -- finish the evidence about Hill,

2    with one matter that I haven't yet been able to review with

3    the Court, and then talk about the defendant Tubbs.

4             After all -- after the Unite the Right day was over

5    and the only -- the only thing, if you will, that the

6    defendants could show for the rally itself on Saturday

7    morning was the violence that ensued, because no speeches

8    took place, Your Honor.     The governor declared an unlawful

9    assembly and the parties were all dispersed.        In spite of the

10   fact that Dr. Hill didn't get to speak, there were no

11   speeches, and the only events of the day were violence, the

12   defendant Hill called it a great day in the life of the

13   League of the South, and said, "Our warriors" -- not "our

14   members," Your Honor -- "Our warriors acquitted themselves as

15   men," particularly complimenting the defendant Tubbs.          And

16   that's Exhibit 34.

17            And let me just focus for a few minutes, if you

18   will, on the defendant Tubbs.

19            The defendant Tubbs was a member of the League since

20   he was released from federal prison, where he served a

21   sentence for unlawful weapons conviction while in the U.S.

22   Army.   And that conviction, Your Honor, related to the

23   results of a search and seizure on his premises which found a

24   cache, C-A-C-H-E, of automatic weapons and others that were

25   to be used to advance white nationalist objectives.          And we
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 28 of 47 Pageid#: 28
                                  15536
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    have an exhibit we've submitted about that conviction.

2             Tubbs became chief of staff for League of the South

3    and was appointed by Hill as the head of ground operations.

4             Exhibit 121, Your Honor, is a message from the

5    defendant Hill to the defendant Tubbs reporting to him that

6    Baker and Durham, the two members of the League that Hill had

7    delegated specific responsibilities to, would be reporting to

8    Tubbs as his lieutenants in the Unite the Right.

9             It's the defendant Tubbs, Your Honor, that

10   supervised and decided on the military-style uniforms that

11   would be used by the League members for the day.         It's the

12   defendant Tubbs that met with participants on the roof of the

13   Market Street garage from the League, from TWP, and from NSM,

14   and spoke to them about plans for the march on that morning

15   and gave instructions.     It's the defendant Tubbs that led the

16   formation marching into Emancipation Park.

17            And the picture of that, Your Honor, we included in

18   paragraph 212 of the second amended complaint.         And

19   Exhibit 92 is a video showing the defendant Tubbs at the

20   front of the formation.     That video and others, Your Honor,

21   show that it's the defendant Tubbs that initiated the attack

22   on the counter-protesters and engaged in violence himself.

23            And, Your Honor, Exhibit 101 shows the defendant

24   Tubbs.   He is well over 6 feet tall.      He towers over all of

25   the other people, like the co-defendant Parrott said.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 29 of 47 Pageid#: 29
                                  15537
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1               And just as the defendants Hill and Tubbs planned,

2    the shields and poles, the poles of the flags, were used as

3    weapons.   And Your Honor can see that in the videos that

4    they -- that we have submitted.

5               So it's disingenuous, Your Honor, for Mr. Jones to

6    say, as he has in his motion, that, since Hill and Tubbs

7    didn't have actual access to Discord, that they weren't

8    involved in the planning and can't be responsible as

9    co-conspirators.

10              They did have access.    But more importantly, they

11   delegated the responsibility of acting for them and for the

12   League to the individuals that I referred to.

13              And this is a paramilitary organization, Your Honor,

14   that insists on the chain of command.       And Your Honor will

15   see references to Baker and Adams reporting to Hill and/or

16   Tubbs, and then to Hill, on what they were doing in

17   furtherance of the conspiracy and in furtherance of the

18   participation.

19              Also, Your Honor, it should be noted that the

20   defendant Tubbs spoliated evidence in connection with the

21   Unite the Right rally.     He destroyed, spoliated, text

22   messages during the very important period before the rally

23   and deleted his League of the South e-mail account for the

24   relevant time period.

25              I think I've covered what I have to say on the torch
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 30 of 47 Pageid#: 30
                                  15538
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    march.   Let me go to the defendant Fields.

2             I'm not going to repeat -- repeat myself, Your

3    Honor, about the evidence of his participation in the

4    conspiracy.   We submit that there's more than enough direct

5    evidence of his participation and circumstantial evidence of

6    his agreement to participate with Vanguard America and

7    Vanguard America's agreement that he -- that he, Fields --

8    would be participating with them; more than sufficient to get

9    that proof to the jury.

10            One thing that Mr. Jones said to Your Honor, which I

11   take strong exception to:     There actually is -- the evidence

12   shows, Your Honor, that there isn't any written membership

13   list of Vanguard America.     The witness Hopper, who was head

14   of Vanguard America, said there are no records maintained of

15   who the members are.

16            Thomas Russo, who was the leader of Vanguard America

17   on the ground that day, testified that the defendant Fields

18   was allowed to participate as a member with Vanguard America

19   at the rally.

20            So not only does the Court have the direct evidence

21   of what Fields did, the circumstantial evidence of Fields

22   wearing a uniform -- which raises the inference, we submit,

23   that there was communication and he knew what the uniform

24   was -- third, we have direct evidence from the leader of

25   Vanguard America that they considered Fields a member for
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 31 of 47 Pageid#: 31
                                  15539
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    that day.

2               And Your Honor is familiar with this evidence

3    because you referred to it in the decision on the motion to

4    dismiss.    Exhibits 6, 8, and 44 are all communications from

5    Discord among participants, among participants in the Unite

6    the Right rally, discussing using a vehicle for violence on

7    counter-protesters.      It was so that a member of one of the

8    national front organizations, that one of the members here,

9    Mr. Fields, actually drives a car into the protesters was a

10   reasonably foreseeable event from that evidence from Discord.

11              And just like the defendant Hill, Your Honor,

12   ratified the torch march after the fact, even though he

13   didn't participate, we have the same kind of evidence for the

14   defendant Tubbs.

15              So it is disingenuous for Mr. Jones to describe how

16   little contact they had with the defendant Fields, because

17   the defendant Tubbs said, on four separate occasions -- and

18   it's Exhibit 151 -- that James Fields did nothing wrong.

19              THE COURT:    Is there any effort still going on to

20   obtain discovery from Fields?

21              MR. LEVINE:   Yes.    We hope to have his deposition

22   done before the trial, Your Honor.

23              THE COURT:    Okay.   Judge Hoppe, I think, has

24   authorized that, I believe.

25              MR. LEVINE:   I believe, Your Honor.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 32 of 47 Pageid#: 32
                                  15540
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1             Your Honor, we submit that there's more than

2    sufficient evidence of coordination, particularly in light of

3    Russo's testimony that they considered Fields a member.

4             And, Your Honor, the Fourth Circuit cases Scott,

5    Society Without a Name, Henkel, Simmons, all of those cases

6    which have actually thrown out conspiracy counts, all did

7    because there wasn't any evidence of joint action, and it was

8    all -- it was -- it was one -- it was two or three people

9    just acting simultaneously.

10            This case, Your Honor, is a very different case, and

11   we submit that this is more like, Your Honor, the Leonard

12   case in the Seventh Circuit that we've quoted.         And even the

13   facts here are better than the Leonard case, because the

14   defendant Fields, Your Honor, joined with the defendant

15   Vanguard America, which was a co-conspirator in the Unite the

16   Right rally.

17            And Your Honor said to Mr. Jones, if Vanguard

18   America is a co-conspirator and the defendant Fields was a

19   member of Vanguard America, there's sufficient evidence that,

20   we submit -- Your Honor didn't say this.        There's sufficient

21   evidence, we submit, that Fields is a co-conspirator and that

22   his conduct was in furtherance of the conspiracy; certainly

23   sufficient to put to the jury.

24            There are two other points that Mr. Jones makes in

25   his brief, Your Honor, that he didn't make in oral argument.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 33 of 47 Pageid#: 33
                                  15541
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    He reserved time.    I don't know whether I should reserve time

2    and go behind him, but I'll come right out right now and give

3    you our summary of those arguments.

4             One is, Your Honor, they claim, they argue, that the

5    violence here wasn't directed at blacks and Jews and their

6    supporters; that these white nationalist organizations are

7    simply -- were simply engaged in a political, a political

8    rally, and they attempt to squeeze this Unite the Right rally

9    into those 1985(3) cases, where the Court has thrown out the

10   1985(3) count because the target of the violence was a

11   political opponent.

12            Your Honor, our view is this is a revisionist

13   narrative for what happened.      The whole thrust of the Unite

14   the Right rally was to bring together in one place the white

15   nationalist organizations.

16            The core group of defendants in this case, Your

17   Honor, that Kline -- that defendants Kline and Kessler

18   reached out to get participation is the four organizations in

19   the Nationalist Front:     League of the South; Traditionalist

20   Workers Party, TWP; NSM, National Socialist Movement; and

21   Vanguard America.

22            And, of course, I read to you what the defendant

23   Hill said about, "If you want to save the South, come fight

24   the Jew and his dark-skinned allies."       But let me read, Your

25   Honor, from Exhibit 19.     And this is one of those just
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 34 of 47 Pageid#: 34
                                  15542
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    bullets of evidence that puts -- puts how untruthful and

2    disingenuous it is to argue that this Unite the Right rally

3    was going to be a political rally.

4             Brad Griffin, the head of communications who I've

5    referred to, who was at the torch march, is e-mailing back

6    and forth with the defendant Andrew Anglin, who is with the

7    Daily Stormer, a very prominent white nationalist in the

8    country; and Exhibit 19, Your Honor -- in Exhibit 19,

9    Mr. Griffin is describing to Anglin how they put together the

10   participants for the Unite the Right rally.        This

11   conversation back and forth takes place on July 16.          The

12   leader of TWP was a man by the name of Matt Heimbach,

13   Defendant Heimbach, and Brad Griffin is saying to Anglin -- I

14   hope I've set this up so that Your Honor can follow it,

15   because this is a very significant piece of evidence.

16            So he says to Anglin, "So what's going on with

17   Heimbach of TWP?"    He answers himself, "He," referring to

18   Heimbach, "has gotten the National Socialist Movement,

19   various Klan groups, and skinheads to unite behind him in the

20   Nationalist Front."

21            Now, here is the League of the South member telling

22   Anglin of the groups that are together in the Nationalist

23   Front.   "Everyone" -- "everyone," Griffin says -- "Everyone

24   is coming to Charlottesville.      The League has a private

25   summer retreat reserved for the weekend outside of town.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 35 of 47 Pageid#: 35
                                  15543
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    I've heard Dr. Duke is coming and will have some kind of

2    surprise role.    We're going to do the torchlight parade

3    again."

4              This message, I submit to Your Honor, among

5    co-conspirators charged here confirms that this was a modern

6    Klan-inspired event, referring to the torchlight parade,

7    which is, we submit, evocative of Klan and Nazi

8    demonstrations of the past.      And at least one of the

9    co-conspirators conceded that reference.        It demonstrates

10   abundant evidence that the Unite the Right was all about

11   racial animus and religious animus against blacks and their

12   supporters.

13             Now, Mr. Jones says that there's actually no

14   evidence found during discovery -- he says it at page 8 of

15   his reply memorandum, no evidence developed during discovery

16   to support -- the proposition, we say, was that Antifa's

17   participation was as a supporter of the protected class.

18             I want to read, Your Honor, and refer you to

19   Exhibit 14, which is a communication between Mr. Baker, Ike

20   Baker, who is a member of the League and who I referred to

21   before, after the -- right immediately after the fact, to one

22   of the other members of the Nationalist Front.         And this is

23   evidence that Mr. Jones says was not discovered in this case.

24   But it is.    It was.   There is evidence.     And this is what Ike

25   Baker says:   "I have come to the sincere belief that we who
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 36 of 47 Pageid#: 36
                                  15544
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    were present at Charlottesville that day and who fought the

2    Jew-directed Communist horde" -- I submit, referring to

3    Antifa -- "were present for the very genesis of the

4    resurrection of our folk."

5             You see, Your Honor -- and there's evidence

6    throughout which we have cited in our brief -- the League of

7    the South and other white nationalists view, correctly or

8    incorrectly, that Antifa is Jewish-directed, that it is --

9    but it is -- it is a supporter of the blacks and the Jews.

10            And, Your Honor, in the Griffin case, in the Griffin

11   case, the evidence -- the Supreme Court opinion says very

12   explicitly that the two brothers Breckenridge were not --

13   actually misunderstood the facts and the victims that they

14   beat up weren't civil rights workers.       But the Court said

15   that didn't matter.

16            So, too, Your Honor, even if not all Antifa members

17   or participants are supporters of Jews, the defendants

18   understand and believe that Antifa is Jew-directed.

19            And one more piece of evidence, Your Honor, that

20   this is hardly -- was hardly a political rally.         I want to

21   read to you from Exhibit 78, which is, I submit, searing --

22   S-E-A-R-I-N-G -- searing testimony from one of the plaintiffs

23   about the torch march on Friday night.        Natalie Lynn Romero

24   at page 18 testified at her deposition:        "Well, I arrived

25   with a group of my friends.      So we decided to, you know, stay
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 37 of 47 Pageid#: 37
                                  15545
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    by the statue and say, 'This is our university.'         So there

2    were not too many of us and we decided, let's kind of link

3    our arms around the statue."

4             And then several pages -- several lines later:          "I

5    wasn't aware that they were going to have lit torches.          You

6    know, I was -- it felt kind -- afterwards, I felt kind of:

7    Oh, my gosh, why did I have my arms around the statue?          A

8    fight broke out in front of me and I was being yelled at.           I

9    was one of the only people of color on that side of the

10   statue, alone with other people of color next to me, and we

11   started getting yelled at, being told, you know, things that

12   definitely felt racially, like, very much directed towards me

13   and my friend, you know, telling us to go back to where we

14   came from."

15            And then several sentences later, she says:          "Then a

16   fight broke out in front of us that felt very violent because

17   they threw tiki torches and they landed right at my feet,

18   where I had to jump onto the statue.       You know, there were

19   people with helmets."

20            Remember that J.C. Adams said that there would be a

21   hate van filled with helmets.

22            "And there were people with things that looked like

23   guns and lights that were really flashing, and bottles of

24   stuff that were throwing, and there was mace coming from,

25   like, a corner, just spraying us."
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 38 of 47 Pageid#: 38
                                  15546
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1              So they may take the position that they were

2    involved in a political rally, Your Honor, but we submit, at

3    best, that's a question for the jury.

4              Finally, one last argument that Mr. Jones makes in

5    his brief that he didn't make today, and that is that the

6    violent beating of the black man, DeAndre Harris, on Market

7    Street, at the entrance to the garage, was an isolated event.

8    "A spontaneous encounter" is what Mr. Jones called it.

9              At the outset, Your Honor, the evidence shows that

10   this violent beating was done by three or four men, one of

11   whom was a member of the League of the South, Tyler Davis;

12   who also is the same individual, Your Honor, that

13   participated in the torch march that I mentioned before,

14   Exhibit 147, which was a tweet of a picture of the torch

15   march, where it said, "Still getting chills from this.

16   Florida League was there that night."

17             So Tyler Davis was one of the three or four people

18   beating DeAndre Harris.

19             And Exhibit 103, Your Honor, is actually the beating

20   in progress.   It's a still photo.      It's very chilling, I

21   submit.   It shows three or four men over him with sticks,

22   pummeling him.    And DeAndre Harris suffered a fractured

23   skull, broken vertebrae, and a broken arm.

24             And very important, Your Honor, in that photo --

25   it's Exhibit 103 -- looking over that beating, Your Honor, is
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 39 of 47 Pageid#: 39
                                  15547
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    the defendant Michael Tubbs.

2              They actually have the audacity to argue that it was

3    a spontaneous event and not an act in furtherance of the

4    conspiracy.   It's exactly the kind of violence that they

5    advertised and promised that day, and the defendant Michael

6    Tubbs is watching it happen.

7              And if that isn't enough to show that it was an act

8    of violence in furtherance of the conspiracy, after the

9    events of that day, the Charlottesville Police Department

10   started a criminal investigation of that assault, and the

11   League members learned -- Mr. Tubbs, Defendant Tubbs, learned

12   that Tyler Davis, the League member, was actually under

13   investigation.    He went through League members' friends

14   lists -- maybe from Facebook; I don't know how -- and he

15   identified three members of the League who befriended -- who

16   were friends of this Tyler Davis under investigation.

17             Exhibits 126, 127, and 128 are what are -- are text

18   chats between the defendant Tubbs and three members of the

19   League:   One Bryan McCoy, M-c-C-O-Y, at page -- the Bates

20   number is 218; one member, Charlene, C-H-A-R-L-E-N-E, Braun,

21   B-R-A-U-N, and that's at Bates number 250; and Exhibit 128,

22   Your Honor, is -- I don't have the individual, but it is

23   number 245 -- oh, Jessica Reavis, R-E-A-V-I-S.         In each of

24   those three text chats, the defendant Tubbs is saying to the

25   League member, "You are friends with Tyler Davis.         The feds
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 40 of 47 Pageid#: 40
                                  15548
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    apparently have possession of his phone.        And," quote,

2    "'Tyler,'" close quote, has been friending people while he is

3    in jail.   You need to remove him from your friends list

4    immediately and delete any conversations you might have had

5    with him via Signal Messenger and other formats."

6               So this is the very defendant.      And Tyler Davis is a

7    member of the Florida League, the same Florida League that

8    participated in the torch march.       The defendant Tubbs is part

9    of the Florida League chapter.

10              So I submit there's abundant circumstantial evidence

11   of Tubbs' involvement with the Florida League that applies to

12   the torch march, and abundant evidence of his participation

13   in this brutal beating that's an act in furtherance of the

14   conspiracy.

15              Your Honor, I'm not sure what Mr. Jones is going to

16   argue, but he moved to dismiss Counts Two and Three besides

17   Count One.    Count Two is the 1986 count.      Count Three is the

18   civil conspiracy count.

19              If Your Honor permits the 1985(3) count to go to the

20   jury, those two counts follow based on the law, so I'm not

21   going to spend any additional time arguing about Counts Two

22   and Three.

23              Your Honor, in sum, in Griffin, in the Griffin case,

24   the plaintiffs were pulled from their car and beaten at the

25   side of the road by two brothers.       At the same time, those
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 41 of 47 Pageid#: 41
                                  15549
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    brothers were making racist comments about and to them.          The

2    Court, the Supreme Court, Justice Stewart, said, quote, "The

3    claims of detention, threats, and battery amply satisfy the

4    requirement of acts done in furtherance of a conspiracy."

5             We have, Your Honor, detention, threats, and battery

6    on a much grander scale here.      The torch march, the rally on

7    Saturday, the car attack by Fields, much grander scale of

8    violence; abundant evidence that these three defendants --

9    Hill, Tubbs, and League of the South -- were co-conspirators

10   involved in this conspiracy.

11            Your Honor, as -- Your Honor quoted Justice Stewart

12   also from his opinion.     As Justice Stewart said, "Indeed, the

13   conduct here alleged lies so close to the core of the

14   coverage intended by Congress that it is hard to conceive of

15   wholly private conduct that would come within the statute if

16   this does not," close quote.

17            We submit, Your Honor, that this is -- this is the

18   case, what the statute was intended to punish.

19            I only have anything else if Mr. Jones says

20   something that I haven't had an opportunity to respond to.

21            THE COURT:    All right.

22            Mr. Jones?

23            MR. LEVINE:     Thank you for your patience, Your

24   Honor.

25            THE COURT:    Thank you.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 42 of 47 Pageid#: 42
                                  15550
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1              Mr. Jones?

2              MR. JONES:   Thank you, Your Honor.      I will just

3    address the two important points that -- the two arguments

4    that I made at the beginning.      I'll rest on my arguments in

5    the motion and memorandum and in my reply for the other

6    issues.

7              On the question of whether Fields conspired with

8    anybody, plaintiffs are uncharacteristically brief.          Page 38,

9    39, and 40 in their response, they cite evidence simply

10   showing that James Fields attended the rally and stood near

11   members of Vanguard America.

12             Alan, Mr. Levine, mentioned several times that

13   Thomas Russo said he considered James Fields a member.

14   That's incorrect.    That's a mischaracterization of the

15   evidence.   Mr. Russo never uttered those words.        I urge Your

16   Honor to actually look at the exhibits that plaintiffs have

17   cited in support, pages 38, 39, and 40, on that point.

18             Fields did not conspire with anybody.        Nobody knew

19   who Fields was.    They have no evidence that anybody knew him

20   before the rally, that he participated in any conversations

21   on Discord, and they have simply not provided sufficient

22   evidence on that point.

23             Your Honor, on the torch march, Michael Hill,

24   Michael Tubbs, and the League of the South, the national

25   chapter, the national organization, are defendants, not Brad
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 43 of 47 Pageid#: 43
                                  15551
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    Griffin, not Tyler Davis, and not Florida League of the South

2    members.   The League -- plaintiffs simply have ignored the

3    crucial piece of evidence on this point, which is the e-mail

4    from J.C. Adams to Michael Hill where he says the League is

5    not taking part in the torch march and they are sending

6    observers.

7               Simply sending observers does not qualify as

8    participation in a conspiracy.

9               And, finally, the torch march and the rally were two

10   separate events.    They occurred at different locations, for

11   different purposes.    Completely, two separate events.

12              If plaintiffs' conspiracy theory is accepted by the

13   Court, then somebody who simply showed up at the rally on

14   Saturday, August 12 as a member of some organization, all

15   they had to do was show up at the rally and then they're

16   liable.    They're on the hook as a co-conspirator for whatever

17   occurred the day before.     That's simply not an accurate

18   statement of what legally qualifies as a conspiracy.          Courts

19   have been careful to define conspiracies.

20              So, Your Honor, for those reasons, we would ask Your

21   Honor to dismiss the conspiracy claims against the League of

22   the South, Michael Hill, and Michael Tubbs.

23              I would finally -- Mr. Levine has accused me, three

24   times at least, of being disingenuous.        I do want to assure

25   the Court and Mr. Levine that that is, in fact, not the case.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 44 of 47 Pageid#: 44
                                  15552
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    I do take my responsibilities seriously.        I know it's an

2    emotional case for everybody.      But I do -- I do hope that

3    that is not how we conduct this case.

4             Thank you.

5             THE COURT:    All right.

6             MR. LEVINE:     Your Honor --

7             THE COURT:    Let me ask you something about the

8    National Front.    What is the organization of the National

9    Front?   Is that an organized group with any particular

10   organization?

11            MR. JONES:    It's not -- so what it is, is the League

12   and a couple other organizations formed, I guess, a loose

13   alliance.   TWP and NSM were part of the Nationalist Front,

14   and they called themselves the Nationalist Front.         It's not

15   a -- it's not a -- for example, League of the South is

16   actually an official corporation, corporate entity, but the

17   Nationalist Front is not.      It's just a loose alliance.

18            THE COURT:    Okay.    What's the relationship between

19   the League and the Florida branch chapter?

20            MR. JONES:    Your Honor, there are independent

21   chapters in most southern states, and Florida has a chapter.

22   It has its own leadership as well.

23            THE COURT:    What's its connection, though, with

24   Mr. Hill's group?

25            MR. JONES:    To be honest, I don't think there's
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 45 of 47 Pageid#: 45
                                  15553
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    evidence on the record that speaks to that.

2              THE COURT:    Okay.    All right.   Thank you.

3              MR. LEVINE:    Your Honor, may I just respond?

4              THE COURT:    To what?

5              MR. LEVINE:    To some of the things that were said in

6    answer to the Court's question.

7              THE COURT:    Well, I'll give the -- Mr. Jones the

8    last word, but just -- you can take a minute.

9              MR. LEVINE:    Okay.   Number one, in using the word

10   "disingenuous," I'm using a professional word.         I have only

11   the utmost respect for Mr. Jones, and we've dealt very well

12   together on this contentious case.

13             Your Honor, Defendant Fields didn't make a summary

14   judgment motion here, and the plaintiffs don't have to show

15   that he was involved in the planning before the Unite the

16   Right rally weekend for him to be considered a member of the

17   conspiracy and for his conduct to be acts in furtherance of

18   the conspiracy.    That is standard conspiracy law.        And the

19   fact -- it isn't that he showed up.       It's that he showed up

20   with them in their uniform.      And Hopper and Russo both

21   testified in their deposition that he was part of their

22   group.

23             THE COURT:    I think -- I think you've covered all of

24   that --

25             MR. LEVINE:    Okay.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 46 of 47 Pageid#: 46
                                  15554
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1              THE COURT:    -- adequately.

2              MR. LEVINE:    Finally, Your Honor --

3              THE COURT:    Mr. --

4              MR. LEVINE:    Finally, Dr. -- Defendant Hill did

5    testify in his deposition that the League of the South is the

6    umbrella organization; it has 16, I think, or so -- maybe

7    fewer -- state chapters; that it is all organized as one

8    organization.   There are League activities in different

9    states.   Hill is the president of it all.       The defendant

10   Tubbs is the chief of staff for the whole League and is a

11   member of the Florida League.

12             So we would submit, Your Honor, that the Florida

13   League's activities and the activities of Griffin, J.C.

14   Adams, and Baker, all members of the South, all participating

15   that day, are directly attributable to both the League as a

16   defendant here and Hill and Tubbs as defendants.

17             Thank you.

18             THE COURT:    Okay.    Thank you.

19             Mr. Jones, you get the last word.

20             MR. JONES:    Thank you, Your Honor.     I don't -- I

21   would just submit that there is no evidence to support the

22   claim that he showed up with Vanguard.        When he got to the

23   rally, he hung out with Vanguard, so...

24             THE COURT:    All right.   Thank you.    All right.

25   We'll recess court.     I thank you all for your participation.
Case 3:17-cv-00072-NKM-JCH Document 905 Filed 11/05/20 Page 47 of 47 Pageid#: 47
                                  15555
        Sines, et al., v. Kessler, et al.       3:17cv72    10/30/2020


1    Thank you.

2             MR. LEVINE:     Thank you, Your Honor.

3    (Proceedings adjourned, 3:31 p.m.)

4                          C E R T I F I C A T E

5         I, JoRita B. Meyer, RMR/CRR, Official Court Reporter for

6    the United States District Court for the Western District of

7    Virginia, appointed pursuant to the provisions of Title 28,

8    United States Code, Section 753, do hereby certify that the

9    foregoing is a correct transcript of the proceedings reported

10   by me using the stenotype reporting method in conjunction

11   with computer-aided transcription, and that same is a

12   true and correct transcript to the best of my ability and

13   understanding.

14        I further certify that the transcript fees and format

15   comply with those prescribed by the Court and the Judicial

16   Conference of the United States.

17        /s/ JoRita B. Meyer                  Date: 11/5/2020

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